Case 2:05-Cv-04182-SRD-JCW Document 16002-3 Filed 10/21/08 Page 1 of 1

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EXHIBIT SB”

NITY AGREE T TO OBLIGATIONS UNDER PROTEC ORDE

GOVERNING ROAD HOME APPLICANT AND RECIPIENT INFORMATION

Inve: Katrina Canal Breaches Litigation
Civil Action No. 05-4182 “K” (2)
Pertains to: Road Home
Louisiana State, Civil Action No. 07-5528,

United States District Court for the Eastern District of Louisiana

I have read and I understand the Protective Order Governing Road Home
Applicant and Recipient Information (“Protective Order”) concerning the release of
Applicant and Recipient Personal Information filed under seal in the above referenced
lawsuit, I am authorized to agree and do hereby agree that Lafayette Insurance Company
is bound oy the Protective Order and shall use the Personal Information disclosed to it

solely in accordance with the terms of the Protective Order.

I further acknowledge and agree that the terms of the Protective Order are
enforceable against Lafayette Insurance Company during and after the conclusion of this
lawsuit, and Lafayette Insurance Company agrees to submit to the jurisdiction of the
United States District Court for the Eastern District of Louisiana. for any enforcement

proceedings.

LAFAYETTE INSURANCE COMPANY
118-2 Avenue SE By. ARQ R Aton
Address : Signature and Date
Cedar Rapids, JA_ 52401 Neal R. Scharmer — General Counsel
City, State and Zip Code Print Name and Title
(319) 399-5700

Prone Number

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